    Case 1:14-ml-02570-RLY-TAB Document 9716 Filed 12/10/18 Page 1 of 1 PageID #: 65283

 AO 399 (01/09) Waiver of the Service of Summons



                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                         Southern District
                                                      __________  District of
                                                                           of Indiana
                                                                              __________

  JAMES T. STABLEIN and LINDSAY SUTHERLAND                                    )
                               Plaintiff                                      )
                                  v.                                          )   Civil Action No. 1:18-cv-03467
             COOK INCORPORATED, ET. AL                                        )
                             Defendant                                        )

                                             WAIVER OF THE SERVICE OF SUMMONS

 To: MARLENE JAYE GOLDENBERG
              (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
 two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
 jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
 60 days from                11/08/2018            , the date when this request was sent (or 90 days if it was sent outside the
 United States). If I fail to do so, a default judgment will be entered against me or the entity   represent.
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 Date:          12/10/2018
                                                                                             Signature
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                                                                                                           the
                                                                                                            he attorney or unr
                                                                                                                           unrepresented party

Cook Incorporated., Cook Medical, LLC, William Cook Europe ApS                                           Kip S. M. McDonald
        Printed name of party waiving service of summons                                                        Printed name
                                                                                                  300 N. Meridian St. Suite 2700
                                                                                                      Indianapolis, IN 46204

                                                                                                                  Address

                                                                                                   kip.mcdonald@faegrebd.com
                                                                                                              E-mail address

                                                                                                            (317) 237-1485
                                                                                                            Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
 and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
 the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
 no jurisdiction over this matter or over the defendant or the defendant’s property.

         If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
 a summons or of service.

            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
 and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
